Petition for distributive shares.
GASTON produced a notice to the petitioners from the defendant of an intended motion for a rule to show cause why there should not be a new taxation of costs in this case. It was a petition for distributive shares, filed against the defendant, as executor, in which a decree had been made for petitioners, Ryden v. Jones, 8 N.C. 497, and the clerk had taxed the defendant with the cost of plaintiff's witnesses. The Court granted the rule, and afterwards made it absolute, stating that cases of this kind must be governed by the rules of chancery practice, and that plaintiff might have taken the depositions of his witnesses. A new taxation of costs was ordered accordingly.
Cited: Griffith v. Byrd, 24 N.C. 72; Newsom v. Newson, 26 N.C. 389;Bowers v. Bowers, 30 N.C. 249.
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